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1                                                                                           JUDGE ROBART
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7                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF WASHINGTON
8                                                   AT SEATTLE
9
     UNITED STATES OF AMERICA,              )
10                                          )                               NO. CR06-206RSM
                      Plaintiff,            )
11                                          )
                v.                          )
12                                          )                               ORDER CONTINUING
     EDGARDO COLOSIO-DUSSAN, et. al.,       )                               PRETRIAL MOTIONS
13                                          )                               DEADLINE AND
                      Defendants.           )                               TRIAL DATE
14   _______________________________________)
15             The United States, joined by six of the nine defendants currently pending trial in this
16   case, filed a Motion for Order continuing for approximately three months the pretrial motions
17   due date and the trial date, currently set for July 13 and August 28, 2006, respectively.
18             This Court’s decision is based on the facts stated in the Motion and apparent from the
19   record, including the following specific findings:
20             1.         This case is complex and involves two related indictments and nineteen
21   charged conspirators. It stems from a long-term investigation involving multiple agencies,
22   and included the simultaneous execution of over thirty search warrants in two states on the
23   date of arrest. The charges carry the potential for mandatory 10-year, 20-year, or even
24   mandatory life sentences for some defendants, depending on criminal history.
25             2.       This case involves a large volume of discovery that counsel must review prior to
26   trial. Among this discovery is several thousand conversations intercepted over three Court-
27   authorized Title III wire intercepts (wiretaps). Many of these calls are not in English, and
28   must be translated into English for counsel and the Court. The translation effort has been
     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 1                                                                         UNITED STATES ATTORNEY
                                                                                                700 STEWART STREET, SUITE 5220
     United States v. Colosio-Dussan, et al., CR06-206JLR
                                                                                               SEATTLE, WASHINGTON 98101-1271
                                                                                                        (206) 553-7970
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1    complicated by the fact that some calls are in an indigenous language of Southern Mexico,
2    Mixteco Bajo, for which English-speaking translators are very difficult to find. The
3    transcription/translation process in this case is expected to take several months. A
4    continuance of the motions and trial dates will ensure that counsel has sufficient time to
5    review these telephone calls prior to trial.
6              3.         Six of the defendants (those listed as approving this Order, below) state that
7    they need additional time to prepare for motions, plea negotiations, and trial, in order to
8    provide defendants with adequate, effective, and continued representation. They assert that
9    proceeding with the current motions and trial dates would result in a miscarriage of justice.
10   These six defendants join in the Motion and agree that a continuance to November, 2006, is
11   appropriate and necessary in light of the factors listed above.
12             4.         Counsel for the six joining defendants anticipate that each of their clients will
13   issue a written knowing, voluntary, and intelligent waiver of his/her right to a speedy trial
14   through November, 2006. Counsel for two additional defendants do not oppose the motion.
15             5.         In light of the interest of the public in ensuring the accused adequate, effective,
16   and continued representation by counsel presently assigned, this Court finds that the ends of
17   justice served by granting a continuance outweigh the best interest of the public and
18   defendants in a speedy trial. This Court further concludes that the above findings and bases
19   for continuing the trial comport with 18 U.S.C. § 3161(h) and the United States Supreme
20   Court's recent decision in Zedner v. United States, 126 S. Ct. 1976 (2006).
21             Accordingly, for the reasons listed above and those apparent from the record, the
22   Motion for Continuance is HEREBY GRANTED.
23             Trial is reset for November 13, 2006, at 9:00 a.m.
24             Pretrial Motions are due on September 7, 2006.
25             The Court further finds that time from the filing of the stipulated motion through the
26   new trial date shall be excluded from computation under 18 U.S.C. §§ 3161(h)(8)(A),
27   3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii) for all defendants because the failure to grant the
28   requested continuance would be likely to result in a miscarriage of justice, and because the
     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 2                                                                        UNITED STATES ATTORNEY
                                                                                               700 STEWART STREET, SUITE 5220
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1    case is so complex due to the number of defendants, the nature of the prosecution, and the
2    existence of novel questions of fact or law, that it is unreasonable to expect adequate
3    preparation for pretrial proceedings or for the trial itself within the time limits established by
4    the Speedy Trial Act, and under 18 U.S.C. § 3161(h)(7), because the defendants are all
5    joined for trial and no motion for severance has been granted.
6              Dated this __1__ day of August 2006.


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                                                                      RICARDO S. MARTINEZ
9                                                                     UNITED STATES DISTRICT JUDGE
10   Presented by:
11   s/ Sarah Y. Vogel
     SARAH Y. VOGEL
12   Assistant United States Attorney
13   United States Attorney's Office
     700 Stewart Street, Suite 5220
14   Seattle, Washington 98101-1271
     Telephone: (206) 553-7970
15   Facsimile: (206) 553-4440
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     E-mail: Sarah.Vogel@usdoj.gov

17   Approved on July 10-11, 2006 by:
18   s/
     CAROL KOLLER                                                      s/
19   JAY STANSELL                                                      ROBERT LEEN
     for Edgardo Colosio-Dussan                                        for Freddy Mascarenas-Rodriguez
20
     /                                                                 s/
21   KENNETH KANEV                                                     STEPHAN ILLA
     for Jaciel Oranga-Zuniga                                          for Ramiro Florentino Martinez
22
     s/                                                                s/
23   MICHELE SHAW                                                      JEFFREY B. COOPERSMITH
     for Oscar Vasquez-Cruz                                            for Spencer Wydell Woods
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     ORDER CONTINUING PRETRIAL MOTIONS DEADLINE
     AND TRIAL DATE — 3                                                                        UNITED STATES ATTORNEY
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